  Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 1 of 16 PageID #: 1




NS:TH
F.#2020R00596

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 IN THE MATTER OF THE SEARCH OF
 THE PREMISES KNOWN AND           APPLICATION FOR A SEARCH
 DESCRIBED AS 245 ASHLAND AVENUE, WARRANT FOR A PREMISES
 STATEN ISLAND, NEW YORK 10309
 AND ANY CLOSED CONTAINERS/ITEMS No. 20-M-561
 CONTAINED THEREIN


                          AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION UNDER RULE 41 FOR A
                         WARRANT TO SEARCH AND SEIZE


       I, JOSEPH T. COSTELLO, being first duly sworn, hereby depose and state as

follows:


                    INTRODUCTION AND AGENT BACKGROUND


       1.     I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search the premises known as 245 Ashland

Avenue, Staten Island, New York, 10309 (the “SUBJECT PREMISES”), further described in

Attachment A, for the things described in Attachment B.


       2.     I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and

have been for more than five years. During my tenure with the FBI, I have conducted

investigations into a variety of racketeering offenses, including gambling, loansharking,

extortion, narcotics trafficking, and money laundering. In the course of these investigations, I
  Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 2 of 16 PageID #: 2




have, among other things, (a) conducted physical surveillance, (b) executed search warrants,

(c) debriefed informants and cooperating witnesses, (d) reviewed and analyzed numerous

taped conversations of those engaged in organized crime activities, and (e) monitored

wiretapped conversations and reviewed line sheets prepared by wiretap monitors.


       3.      The FBI is investigating STEPHEN (“STEVEN”) BLANCO, also known as

“Stevie Westside,” for the illegal possession of firearms, in violation of Title 18, United

States Code, Section 922(g); the operation of an illegal gambling business, in violation of

Title 18, United States Code, Section 1955; and interstate stalking, in violation of Title 18,

United States Code, Sections 2261A(1)(B) and 2261A(2)(B).


       4.      Based on the following paragraphs, I submit that there is probable cause to

believe that there is kept and concealed within the SUBJECT PREMISES, the items

described in Attachment A to this affidavit, all of which constitute evidence or

instrumentalities of the illegal possession of firearms, in violation of Title 18, United States

Code, Section 922(g).

       5.      I have personally participated in the investigation of the offenses discussed

below. I am familiar with the facts and circumstances of this investigation from: my

personal participation in the investigation, my review of documents, my training and

experience, and discussions I have had with other law enforcement personnel. Additionally,

statements attributable to individuals herein are set forth in sum and substance and in part.


                                                2
  Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 3 of 16 PageID #: 3




       6.     This affidavit is intended to show only that there is sufficient probable cause

for the requested warrant, and does not set forth all of my knowledge about this matter.

                               THE SUBJECT PREMISES


       7.     The SUBJECT PREMISES is a two-story duplex residence with a white stone

and brick exterior and a gable roof. The main entrance to the SUBJECT PREMISES has two

white outer storm doors and white doors with oval windows behind the storm doors. In front

of the house are a number of white statues.   I am aware that STEPHEN BLANCO currently

receives mail and resides at the SUBJECT PREMISES. A photograph of the SUBJECT

PREMISES is below:




                                              3
  Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 4 of 16 PageID #: 4




                                    PROBABLE CAUSE


       8.     The FBI is investigating violations of federal criminal laws, including the

illegal possession of firearms by a previously convicted felon, in violation of Title 18, United

States Code, Section 922(g); the operation of illegal gambling business, in violation of Title

18, United States Code, Section 1955; and interstate stalking, in violation of Title 18, United

States Code, Sections 2261A(1)(B) and 2261A(2)(B) (the “SUBJECT OFFENSES”),

committed by STEPHEN (“STEVEN”) BLANCO.


       9.     As set forth below, there is probable cause to believe that STEPHEN

BLANCO has committed the SUBJECT OFFENSES and that evidence, fruits and

instrumentalities of those crimes will be found in his residence, which is the SUBJECT

PREMISES.


       10.    On or about June 26, 2020, an individual (“Woman-1”) entered the 123rd

Precinct of the New York City Police Department (“NYPD”) and provided, in substance and

in part, the following statements to law enforcement officers with the FBI and NYPD:


              a.      Woman-1 met BLANCO in 2015. BLANCO often carried a firearm

                      and large amounts of cash. BLANCO told her, on more than one

                      occasion, that he was a member of organized crime.




                                               4
Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 5 of 16 PageID #: 5




         b.    In 2016, the relationship between Woman-1 and BLANCO ended. In

               2018, after BLANCO contacted Woman-1, they reprised their

               relationship and Woman-1 began living with BLANCO at the

               SUBJECT PREMISES and continued to live at the SUBJECT

               PREMISES until March 2019. During the time period that Woman-1

               lived at the SUBJECT PREMISES, BLANCO kept two small black

               handguns on the second floor of the SUBJECT PREMISES.

               Specifically, BLANCO stored one handgun behind a bidet in his

               bathroom, and the other BLANCO kept in a Louis Vuitton carry-all

               handbag on his person. When BLANCO left his home, he stored the

               handbag containing the firearm in the trunk of his vehicle. Woman-1

               last saw the firearms in January 2019.


         c.    BLANCO frequently boasted to Woman-1 about being a member and

               “boss” in the Genovese organized crime family of La Cosa Nostra and

               told Woman-1 that he was inducted into the Genovese crime family at

               the same time that the now-deceased Frank Cali was inducted into the

               Gambino crime family.


         d.    BLANCO maintained a Costa Rican-based gambling operation and

               frequently brought Woman-1 along with him in order to collect debts


                                       5
Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 6 of 16 PageID #: 6




               from gamblers. On at least one occasion, BLANCO brought Woman-1

               to collect money from a man who owed him a gambling debt.

               BLANCO directed Woman-1 to take a photograph of the debtor’s

               vehicle and license plate and to text BLANCO the photograph. As

               instructed Woman-1 texted BLANCO a photograph of the vehicle’s

               license plate. 1


         e.    Woman-1 kept approximately $20,900 in cash in a safe deposit box in

               New Jersey. At the time that Woman-1 began dating BLANCO again

               in 2018, BLANCO insisted that Woman-1 begin keeping the cash in a

               drawer at the SUBJECT PREMISES. Woman-1 did so. Woman-1

               believes that one night she was drugged by BLANCO. The next

               morning, BLANCO told Woman-1 that he gave the $20,900 that

               Woman-1 had stored at the SUBJECT PREMISES to a neighbor in

               exchange for a piece of property and stated that Woman-1 had agreed

               the prior night (when Woman-1 believed she had been drugged).



   1
         I have reviewed a screenshot of the text message provided by Woman-1.




                                       6
  Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 7 of 16 PageID #: 7




      11.    In approximately January 2019, Woman-1 and BLANCO ended their

relationship. On multiple occasions, Woman-1 attempted to get her property from the

SUBJECT PREMISES. In June 2020, BLANCO met Woman-1 in New Jersey with some of

her belongings and told her, “You know who I am” and “you’re not going to fuck me, right?”

Woman-1 understood these statements by BLANCO to be a threat not to report BLANCO to

law enforcement.


      12.    On or about July 15, 2020, I and other law enforcement officers interviewed

an individual (“Woman-2”), who dated BLANCO between July 2017 and November 2018.

Woman-2 provided, in substance and in part, the following statements to law enforcement

officers with the FBI and NYPD:


             a.     Throughout the time Woman-2 dated BLANCO, BLANCO bragged to

                    Woman-2 that he was a member of organized crime. BLANCO resided

                    at the SUBJECT PREMISES with Woman-2 and carried a small

                    handgun in a carry-all bag on his person. Woman-2 described the

                    firearm as a small pistol and brown in color and stated that BLANCO

                    placed the bag with the firearm in the trunk of his car when he left the

                    SUBJECT PREMISES. When home, BLANCO kept the bag with the

                    firearm in his bedroom. Woman-2 last saw BLANCO’s firearm in

                    November 2018.


                                             7
Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 8 of 16 PageID #: 8




         b.    Woman-2 believed BLANCO frequently drugged her by serving her

               drinks mixed with Xanax. Woman-2 recalled BLANCO raping her

               while she slept. On one occasion, while they were at a bar, Woman-2

               overheard BLANCO tell another individual that he (BLANCO) served

               Woman-2 beverages with Xanax mixed in.


         c.    In approximately November 2018, BLANCO sent Woman-2 a text

               message of an audio clip of him raping Woman-2. Woman-2

               recognized her own voice and breath, and could hear BLANCO saying

               her name. After receiving the text, Woman-2 ended her relationship

               with BLANCO. After Woman-2 ended her relationship with

               BLANCO, BLANCO began harassing her by following her, calling




                                      8
  Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 9 of 16 PageID #: 9




                      her, and threatening her physically. Woman-2 feared BLANCO would

                      kill her and contacted the police. 2


       13.    On July 23, 2020, I and other law enforcement officers interviewed the woman

BLANCO is currently dating (“Woman-3”). Woman-3 stated, in substance and in part, that

Woman-3 has been dating BLANCO since approximately February 2020. Woman-3

indicated that she has seen a small, dark-colored pistol in a small bag that BLANCO carries.

Woman-3 stated that BLANCO places the bag containing the firearm in the trunk of his car

when he leaves the SUBJECT PREMISES. While he is at the SUBJECT PREMISES,

BLANCO keeps the bag with the firearm in it on his bedroom dresser or in a locked closet.


       14.    I have reviewed BLANCO’s criminal history record and have determined that

on July 22, 1999, BLANCO was convicted of conspiracy to defraud the United States by



       2
               I have reviewed reports of Woman-2’s statements to NYPD dating from
November and December 2018. One report, dated November 23, 2018, indicates that
Woman-2 advised NYPD officers that BLANCO sent Woman-2 a recording of their
nonconsensual sexual activity and that BLANCO was “stalking her.” Woman-2 further
stated that BLANCO continually sent Woman-2 text messages and that she was in fear for
her safety. Another report, dated December 18, 2018, indicates that Woman-2 advised
NYPD officers that BLANCO was “constantly harassing” Woman-2 and causing Woman-2
“to fear for her safety” and her life. Another report, filed on December 23, 2018, reflects that
Woman-2 advised NYPD officers that BLANCO repeatedly followed her and parked his car
outside her home.




                                                9
 Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 10 of 16 PageID #: 10




uttering counterfeit obligations or securities, in violation of 18 U.S.C. §§ 371 and 472, a

crime punishable by a term of imprisonment of more than one year.


                                       CONCLUSION


       15.    I submit that this affidavit supports probable cause for a warrant to search the

PREMISES described in Attachment A and seize the items described in Attachment B.


                                                    Respectfully submitted,



                                                    JOSEPH T. COSTELLO
                                                    Special Agent
                                                    FBI


Subscribed and sworn to before me telephonically on July _______, 2020



____________________________________
HONORABLE VERA M. SCANLON
UNITED STATES MAGISTRATE JUDGE




                                               10
 Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 11 of 16 PageID #: 11




                                    ATTACHMENT A

                                   Property to be searched


245 Ashland Avenue, Staten Island, New York 10309, and any closed or locked containers

found therein, is a two-story duplex residence with a white stone and brick exterior and a

gable roof. The main entrance to the SUBJECT PREMISES has two white outer storm doors

and white doors with oval windows behind the storm doors. A photograph of the SUBJECT

PREMISES is below:
 Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 12 of 16 PageID #: 12




                                     ATTACHMENT B

                                     Property to be seized


Items to be searched for and seized from the subject premises and any closed or locked
container and items contained therein, constituting evidence, fruits and instrumentalities of
the illegal possession of firearms, in violation of Title 18, United States Code, Section 922(g)
involving STEPHEN (“STEVEN”) BLANCO including any firearms and/or ammunition.
                Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 13 of 16 PageID #: 13
AO 93 (Rev. 11/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                       for the
                                                           Eastern District
                                                         __________         of of
                                                                     District  New  York
                                                                                  __________

                  In the Matter of the Search of                         )
              (Briefly describe the property to be searched              )
               or identify the person by name and address)               )       Case No.   20-M-561
              THE PREMISES KNOWN AND DESCRIBED AS                        )
       245 ASHLAND AVENUE, STATEN ISLAND, NEW YORK 10309                 )
      AND ANY CLOSED CONTAINERS/ITEMS CONTAINED THEREIN                  )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                          Eastern  District of           New York
(identify the person or describe the property to be searched and give its location):

      THE PREMISES KNOWN AND DESCRIBED AS 2245 ASHLAND AVENUE, STATEN ISLAND, NEW YORK 10309 AND ANY
      CLOSED CONTAINERS/ITEMS CONTAINED THEREIN, AS SET FORTH IN ATTACHMENT A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      EVIDENCE, FRUITS and INSTRUMENTALITIES OF VIOLATIONS OF TITLE 18, UNITED STATES CODE, SECTION 922(G),
      AS SET FORTH IN ATTACHMENT B




        YOU ARE COMMANDED to execute this warrant on or before                                         (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m. ’ at any time in the day or night because good cause has been established.
      ’

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                     the Duty Magistrate Judge               .
                                                                                               (United States Magistrate Judge)

     ’ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ’ for         days (not to exceed 30) ’ until, the facts justifying, the later specific date of                                   .


Date and time issued:
                                                                                                       Judge’s signature

City and state:             Brooklyn, New York                                   Hon. Vera M. Scanlon                  U.S.M.J.
                                                                                                     Printed name and title
                Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 14 of 16 PageID #: 14
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

                                                                   Return
Case No.:                                Date and time warrant executed:         Copy of warrant and inventory left with:
   20-M-561
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                 Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                        Executing officer’s signature


                                                                                           Printed name and title




          Print                        Save As...                                                                       Reset
 Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 15 of 16 PageID #: 15




                                    ATTACHMENT A

                                   Property to be searched


245 Ashland Avenue, Staten Island, New York 10309, and any closed or locked containers

found therein, is a two-story duplex residence with a white stone and brick exterior and a

gable roof. The main entrance to the SUBJECT PREMISES has two white outer storm doors

and white doors with oval windows behind the storm doors. A photograph of the SUBJECT

PREMISES is below:
 Case 1:20-mj-00561-VMS Document 1 Filed 07/23/20 Page 16 of 16 PageID #: 16




                                     ATTACHMENT B

                                     Property to be seized


Items to be searched for and seized from the subject premises and any closed or locked
container and items contained therein, constituting evidence, fruits and instrumentalities of
the illegal possession of firearms, in violation of Title 18, United States Code, Section 922(g)
involving STEPHEN (“STEVEN”) BLANCO including any firearms and/or ammunition.
